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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                     Plaintiff,

                                                                   DECISION AND ORDER

                                                                   05-CR-6161L

                      v.

JOHN NICOLO,
DAVID FINNMAN,


                              Defendants.
________________________________________________


       Defendants John Nicolo and David Finnman have been convicted after jury trial of multiple

counts involving conspiracy, mail and wire fraud, and money laundering. Defendant Nicolo was

remanded into custody immediately after the jury returned its verdict on May 20, 2008. On February

19, 2009, Nicolo was sentenced by this Court to a term of imprisonment of 144 months.

       Defendant Finnman was also sentenced on February 19, 2009, to a 21-month term of

imprisonment. Finnman, who had previously been released on bail, was allowed to self-surrender,

which he did on May 14, 2009.

       Both Nicolo and Finnman have moved for release from custody pending the outcome of their

appeals, which are currently pending before the Court of Appeals for the Second Circuit, pursuant

to 18 U.S.C. § 3143(b). For the reasons that follow, both motions are denied.
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                                             DISCUSSION



I. General Principles

        Section 3143(b) provides in general that when a defendant has been convicted, and has filed

an appeal or a petition for a writ of certiorari, the district court shall order that he be detained, unless

the court finds, by clear and convincing evidence, that: (1) the defendant is not likely to flee; (2) if

released, the defendant is not likely to pose a danger to the safety of any other person or the

community; and (3) the appeal is not for the purpose of delay, and raises a substantial question of

law or fact likely to result in reversal, an order for a new trial, a sentence that does not include a term

of imprisonment, or a reduced sentence to a term of imprisonment less than the total of the time

already served plus the expected duration of the appeal process. “The defendant bears the burden

of persuasion as to all of the elements in subsection (b).” United States v. Lima, No. 06-cr-00349,

2007 WL 4565030, at *1 (E.D.N.Y. Dec. 21, 2007)(citing United States v. Randell, 761 F.2d 122,

125 (2d Cir. 1985)).

        A question raised on appeal is “substantial” if it “is one of more substance than would be

necessary to a finding that it was not frivolous. It is a ‘close’ question or one that very well could

be decided the other way.” Randell, 761 F.2d at 125 (quoting United States v. Giancola, 754 F.2d

898, 901 (11th Cir. 1985)). If the district court does find that a question raised on appeal is

“substantial,” the court “must then consider whether that question is ‘so integral to the merits of the

conviction on which defendant is to be imprisoned that a contrary appellate holding is likely to

require reversal of the conviction or a new trial.’” Randell, 761 F.2d at 125 (quoting United States



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v. Miller, 753 F.2d 19, 23 (3d Cir. 1985)). “[O]n this issue, as on all the criteria set out in subsection

(b), the burden of persuasion rests on the defendant.” Id.

        The statute, then, creates a “presumption that a defendant who has received a sentence of

imprisonment will be detained pending appeal ... .” United States v. Ciccone, No. 07 Cr. 399, 2008

WL 2498242, at *1 (S.D.N.Y. June 19, 2008). “The convicted defendant bears a heavy burden in

arguing for release pending appeal” under this provision. United States v. Weisberg, No. 07-CR-66,

2008 WL 5114218, at *1 (W.D.N.Y. Nov. 25, 2008) (citation omitted); accord United States v.

Ramjohn, No. 96 CR 767, 2008 WL 974580, at *1 (E.D.N.Y. Apr. 8, 2008). See also United States

v. Abuhamra, 389 F.3d 309, 317 n.5 (2d Cir. 2004) (noting “the heavier burden imposed by 18

U.S.C. § 3143(b)” compared to release pending sentencing under § 3143(a)); United States v. Blair,

No. 06-CR-208, 2009 WL 3672064, at *1 (W.D.N.Y. Oct. 29, 2009) (“The defendant bears the

burden of proving that he does not pose a risk of flight or a danger to the community”).



II. Nicolo’s Motion

        In his motion, Nicolo raises a panoply of reasons why, he claims, he should be released

pending appeal. He alleges that he does not pose a danger to the community, and is not a flight risk,

because: (1) he is in his late seventies and in ill health; (2) he would have no access to firearms if

released; and (3) he has a “long history of compliance” with this Court’s orders and conditions of

release.

        Nicolo also contends that he has raised substantial issues on his appeal. Specifically, he has

asserted on appeal that this Court erred in denying his motion to change venue, and in denying his



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request for a three-month continuance for medical reasons. He also alleges that the prosecutor

committed misconduct in his closing argument at Nicolo’s trial, and that Nicolo’s own trial attorney

(who no longer represents Nicolo) was ineffective.1

       Having reviewed Nicolo’s motion and the Government’s response, and based on my

familiarity with this case, I conclude that Nicolo has fallen far short of the showing required under

§ 3143. His motion, then, is denied.

       First, while it does appear that Nicolo suffers from some health problems, that alone does not

mean that he poses no flight risk or danger to others. See, e.g., United States v. Rogers, No.

SA:06-CR-00272, 2006 WL 1677849, at *1-*2 (W.D.Tex. June 12, 2006) (rejecting defendant’s

argument that because of his age–63–recent heart attack, and absence of past violent behavior, he

did not pose a flight risk or danger to others, in light of other evidence concerning defendant’s past

behavior); United States v. Sessa, 821 F.Supp. 870, 873 (E.D.N.Y. 1993) (“No matter how aged or

infirm, [defendants] will continue to represent serious dangers to the community”).

       That is not to say that Nicolo’s age and health are not relevant considerations, but only that

they are not the only factors that the Court should consider relative to the risk that he would attempt

to flee or pose a danger to the community if released. See, e.g., United States v. Sudeen, No. CR.

02-062, 2003 WL 21977170, at *1-*2 (E.D.La. Aug. 14, 2003) (denying defendant’s motion to be

released pending sentence, notwithstanding defendant’s series of health problems, and noting that

“there is no evidence that the defendant cannot obtain necessary medical treatment while in

custody”).


       1
        Nicolo’s current attorney was substituted for his trial counsel on the same day that he
filed Nicolo’s motion for release pending appeal, February 23, 2010.

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        Indeed, while a defendant’s advanced age may, in some circumstances, tend to diminish those

risks, it may also increase the risk of flight, especially where the defendant is facing a lengthy prison

sentence; such a defendant may feel that he has little or nothing to lose by fleeing. The Second

Circuit recently noted this concerning a request for release by Bernard Madoff. United States v.

Madoff, 316 Fed.Appx. 58, 59 (2d Cir. 2009) (“As to the incentive to flee (based on his age and

exposure to a lengthy imprisonment), we consider that such an incentive naturally bears upon and

increases the risk of flight”); see also United States v. Georgiou, Cr. No. 09-88, 2010 WL 701892,

at *2 (E.D.Pa. Mar. 1, 2010) (finding that defendant had failed to show that he was unlikely to flee,

in part because defendant was “effectively facing a possible life sentence”); United States v. Bedoya,

No. 89 CR 803, 1990 WL 164826, at *1 (S.D.N.Y. Oct. 22, 1990) (finding, based on defendant’s

“demeanor at trial and the fact that he [wa]s faced with spending a significant portion of the rest of

his life in custody,” both that he “ha[d] an incentive to flee” and that “he ha[d] no respect for his

legal obligation” not to flee).

        In addition, notwithstanding Nicolo’s claim to have established a “long history of

compliance” with this Court’s orders and conditions imposed on his prior release, the record in this

case shows exactly the opposite. Indeed, as this Court has commented on prior occasions, Nicolo

has consistently seen himself, throughout this prosecution, as a victim, and he has elevated his own

perceived interests above the law, the Court’s orders, and the interests of others in general.

        This Court has already addressed matters relating to Nicolo’s violations of the conditions of

his release. On December 15, 2008, the Court issued a Decision and Order granting the

Government’s motion to revoke Nicolo’s release pending sentence. In that decision, I noted that



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“[w]ithin a matter of hours” after releasing Nicolo on bail on September 8, 2008, “the Court received

information that Nicolo had almost immediately violated the conditions of the Court’s order not to

contact [his wife and codefendant] Constance Roeder, her family or Roeder’s attorneys.” 2008 WL

5234342, at *1. Based on that information, the details of which need not be repeated here, the Court

issued a warrant for Nicolo’s arrest, and on September 11, 2008, members of the United States

Marshal’s Service forcibly entered Nicolo’s residence, where they found him hiding in the basement.

Id.

         That was not all. In support of its motion to revoke bail, the Government also brought to the

Court’s attention information that Nicolo–who had previously been ordered to surrender all firearms

to the United States Marshal–had contacted a friend and requested that he retrieve a firearm from

Nicolo’s home in Florida. Acting on that information, the Marshal’s Service entered the property

and retrieved the firearm. In my Decision and Order, I found that Nicolo’s “failure to surrender this

firearm violates prior orders of this Court entered during the trial itself requiring Nicolo to surrender

firearms.” That order, I noted, “was entered ... because of threats Nicolo allegedly made to one of

the prosecutors in the case.” Id.

         Based on those findings, the Court found that Nicolo had violated the conditions of his

release, and that there was no condition or combination of conditions that would assure that Nicolo

would not pose a danger to any other person. In so ruling, the Court observed:

         Regardless of defense counsel’s opinion that Nicolo will now be compliant with the Court’s
         orders, Nicolo has failed to comply with such orders in the past, and I think it is unlikely that
         he would abide by any condition or combination of conditions. History has shown that in
         many respects Nicolo does what he wants to do regardless of the opinion of others or of
         Court orders.



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Id. at *2.

        At the time of Nicolo’s sentencing, the Court also made a number of observations concerning

why, in the Court’s view, Nicolo could not be trusted to abide by any conditions that might be set

on his release, and not to engage in any further wrongdoing while on release. I noted, for instance,

that Nicolo’s crimes “did not involve a momentary lapse of judgment or a single event, but repeated

acts over a period of seven years at least.” Dkt. #544 at 37-38. The Court also observed that the

facts of this case demonstrated Nicolo’s “deceit and [his] willingness to take virtually any action to

accomplish what [he] thought was in the best interest of John Nicolo. Truth, honor, integrity

apparently have no place in [his] heart.” Id. at 40. See United States v. Davis, 664 F.Supp.2d 86,

90-91 (D.D.C. Oct. 16, 2009) (agreeing with government’s assertion that “defendant consistently

lied” in the course of committing fraud offense); United States v. Nouri, No. 07 Cr. 1029, 2009 WL

2924334, at *2 (S.D.N.Y. Sept. 8, 2009) (noting that defendant “has engaged in dishonest and

obstructive conduct, ... committed fraud[,] ... was less than forthright with his own colleagues[, and

w]hen he spoke directly to the Court following the verdict, he was not ... being truthful,” and

concluding, “I simply do not trust him to return to court were he released”).

        As I also noted at sentencing, Nicolo’s lack of compunction about advancing his own

perceived self-interest at the expense of others was demonstrated not only by the evidence at trial,

but by Nicolo’s actions and behavior during the course of the trial. In particular, during the trial,

Nicolo telephoned a prospective Government witness, Earl Hollis, less than a day before Hollis was

scheduled to fly from Florida to Rochester to testify. Nicolo left two messages on Hollis’s answering

machine suggesting that Hollis might want to obtain legal representation, and that if Hollis did not



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already have a lawyer, Nicolo could help him find one. Nicolo also stated that there had been

another person on the Government’s witness list who had retained an attorney, and that after she did

so the Government decided not to call her as a witness.2 At Nicolo’s sentencing, I stated, referring

to Nicolo’s actions, that they “involved a not very subtle attempt to dissuade this witness from

coming and testifying.” Dkt. #544 at 41.

       At sentencing, I also noted the extensive trial testimony by people who had been Nicolo’s

friends and associates, concerning the ways in which Nicolo had falsified records of his dealings

with them, as part of Nicolo’s efforts to launder the money that he had obtained as proceeds of his

fraud scheme. As the Court observed at sentencing, Nicolo “would abuse friends and business

relationships if there was even [the] slightest possibility that [he] would benefit from it.” Id.

       Nothing of any consequence has changed since the Court made those statements at the time

of Nicolo’s sentencing. In fact, subsequent events have only served to confirm Nicolo’s lack of

integrity and trustworthiness, as evidenced by his blatant violations of the Court’s presentence

release order, as detailed above. See Davis, 664 F.Supp.2d at 90 (agreeing with Government’s

assertion “that the defendant has not demonstrated that he currently is anymore less a flight risk than

he was a the time of the verdict, and that his failure to take responsibility for his actions, which is

apparent from his denial of the theft and fraud charges, is persuasive in categorizing him as a flight

risk”); United States v. Kimoto, No. 07-CR-30089, 2008 WL 4516315, at *3 (S.D.Ill. Oct. 6, 2008)



       2
         Hollis’s granddaughter retrieved Nicolo’s messages, and called her grandfather on the
day that he was scheduled to fly to Rochester. After his granddaughter relayed Nicolo’s
messages to him, Hollis returned to his Florida home, and did not go to Rochester as scheduled.
See Dkt. #515 at 43-49. Hollis did travel to Rochester a few days later, and testified on April 22,
2008.

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(stating, as to the issues of risk of flight and danger to the community, that “nothing has changed in

this case since Magistrate Judge Proud entered his order detaining Kimoto except that Kimoto has

been sentenced to a lengthy period of incarceration,” and adding that defendant’s earlier violation

of the conditions of his pretrial release was “not reassuring when considering the question of

[whether to grant the defendant’s motion for release on] bond” pending sentence).

        I also find that Nicolo has failed to carry his burden of showing that he is not likely to pose

a danger to the safety of any other person or the community if released. Although in light of his age

and poor health Nicolo may not pose much of a physical danger to others, the danger of economic

harm may also be considered by the court on a motion for release under § 3143. See, e.g., United

States v. Norman, No. 08-tp-80004-Cr., 2009 WL 464078, at *3 (S.D.Fla. Feb. 24, 2009)

(commenting on “the Defendant’s fundamental lack of respect for the rule of law,” and finding that

he “pose[d] a threat of economic danger to the community”); Kimoto, 2008 WL 4516315, at *4

(finding that defendant was an economic danger to the community, in light of his demonstrated

“propensity to endanger the economic interests of others within the community”); United States v.

Napier, No. CR. 97-214, 1998 WL 437273, at *2 (E.D.Pa. Aug. 3, 1998) (noting that defendant “has

a history of fraud and dishonesty[,] ... that he continues to lie with impunity,” and that he “previously

ignored rules and conditions ... while he was on supervised release,” and concluding, “I am not

convinced that there are any conditions that will adequately protect the community” from further

fraud were defendant released on bail).

        At Nicolo’s sentencing, the Court stated that I “have little concern that Mr. Nicolo will

engage in similar activity at this point in his life, principally because I don’t think that anyone would



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hire him ... .” Dkt. #544 at 45. Considering his history and pattern of activity detailed above,

however, I certainly do not believe that his scruples would stand in the way of his engaging in such

activity, if he saw an opportunity to do so and thought that it might benefit him in some way.

        Nicolo’s refusal to accept any responsibility for his actions, and his utter lack of remorse for

his crimes, or for the harm and suffering that he has inflicted upon others, reinforces this conclusion.

The Court also commented upon this at sentencing, stating to Nicolo, “You expressed no remorse.

You apparently have no shame for what happened. You seek to blame others. ... You have blamed

everybody but yourself,” and, “You take whatever you want from whomever you please, regardless

of right or wrong, and regardless of the consequences to others.” Dkt. #544 at 47. Thus, while

danger to the community may not figure into the equation here to quite the same extent as the risk

of flight, it nevertheless also weighs against a finding that Nicolo has met his burden under §

3143(b). See, e.g., Bedoya, 1990 WL 164826, at *2 (stating that “[i]t is also significant that Bedoya

has not shown any remorse or accepted responsibility for his criminal conduct,” and finding that

defendant “cannot be trusted to adhere himself to lawful conduct if released on bail pending

appeal”).

        Nicolo’s assertion that he has raised substantial issues on appeal merits scant discussion. His

arguments concerning the prosecutor’s closing argument were addressed and rejected by this Court

in my August 6, 2008 Decision and Order denying Nicolo’s post-trial motion for a judgment of

acquittal or for a new trial. See 2008 WL 3122278, at *2. The Court stated then that “I believe[d]

that the prosecutor’s comments were not improper and, furthermore, in light of the amount of




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evidence, the strength of it, and the length of this trial, the comment at issue was hardly prejudicial.”

Id.

         Likewise, I noted that Nicolo’s post-trial motion repeated many arguments and issues that

he had raised during the trial, including those raised in his prior motion for a change of venue based

on pretrial publicity, and for a continuance because of his alleged health concerns. I stated with

respect to the venue motion that “[n]othing advanced now by defendant Nicolo suggests any basis

for the Court to reconsider the prior denial of this motion,” and that Nicolo’s “suggest[ion] that his

health somehow disadvantaged him at the trial [was] without any basis in the record.” Id. at *1.

         I realize that the “substantial question” standard does not require the district court to find

“that its own judgment is likely to be reversed on appeal.” Randell, 761 F.2d at 124. Nevertheless,

it is not enough for the defendant simply to show that he has raised a non-frivolous issue on appeal.

The question presented must be “close,” “fairly debatable,” or “one that very well could be decided

the other way.” Id. at 125 (internal quotes omitted). I do not believe that Nicolo has met that

standard.

         I reach the same conclusion with respect to Nicolo’s argument that his trial counsel was

ineffective. That contention is so divorced from the facts as to be almost laughable. Nicolo received

thorough, vigorous and effective representation not only throughout the trial, but throughout this

entire case.

         With respect to the particular error alleged here–trial counsel’s failure to argue during the

trial that Nicolo’s ill health prevented him from participating effectively in his own defense–the

Court did note, in my August 2008 decision, that “defendant Nicolo made no requests for any



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accommodations during the trial itself,” and that “[n]either Nicolo nor his several lawyers raised

these concerns during the trial.” 2008 WL 3211278, at *1. That, however, is a reflection not of

negligence on the part of Nicolo’s trial attorneys, but of the lack of merit to the suggestion that

Nicolo’s health problems somehow prejudiced him at trial. Having observed Nicolo throughout the

trial, I find this to be little more than an after-the-fact fiction, and the failure of Nicolo’s then-counsel

to raise it during the trial itself does not even come close to meeting the standard for ineffective

assistance. See Puglisi v. United States, 586 F.3d 209, 215 (2d Cir. 2009).3

        It bears repeating that the burden on this motion is on Nicolo, who must show by clear and

convincing evidence that he does not pose a risk of flight or a danger to the community, and by a

preponderance that the appeal is not for purpose of delay, that it raises a substantial question of law

or fact, and that if the substantial question is determined in his favor on appeal, the decision of the

Court of Appeals would likely result in reversal or an order for a new trial. United States v. Meyers,

95 F.3d 1475, 1489 (10th Cir. 1996), cert. denied, 522 U.S. 1006 (1997); United States v. Shelton,

No. 02CR00264, 2005 WL 1983761, at *1 (D.Conn. Aug. 16, 2005) (citing Randell, 761 F.2d 122);

United States v. Delanoy, 867 F.Supp. 114, 115-16 (N.D.N.Y. 1994).4

        A defendant’s failure to establish any one of those elements is adequate ground for denying

a motion under § 3143(b). See, e.g., United States v. Montgomery, No. 08-CR-123, 2009 WL

1854010, at *2 (S.D.Ohio June 29, 2009) (rejecting defendant’s argument that he should be released



        3
         As stated, Nicolo’s then-attorney did raise Nicolo’s health issues in his pretrial motion
for a continuance, which the Court denied on the merits.
        4
         Even if a preponderance standard applied to all of the § 3143(b) elements, that would not
alter the Court’s decision here in any way.

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pursuant to § 3143(b) based on his history of attendance at all scheduled hearings, his age (63) and

poor health, and his compliance with the terms of his supervised release, where defendant had not

raised a substantial question of law or fact likely to result in an alteration of his conviction or

sentence on appeal). Since Nicolo has not carried his burden on any of these elements, his motion

for release pending appeal must be denied.



III. Finnman’s Motion

       With respect to defendant Finnman’s motion, the Court agrees with Finnman that he does

not appear to present a risk of flight or danger to the community if released. Finnman was free on

bail throughout this case, until his voluntary surrender in May 2009. I also accept, at least for

purposes of the present motion, that Finnman’s appeal has not been taken for purposes of delay.

       Where Finnman’s motion for release falters, however, is on the “substantial question” prong.

The “question” that Finnman claims is “substantial” here is whether the Supreme Court will strike

down the honest services fraud statute, 18 U.S.C. § 1346, which underlies several of the counts of

the indictment under which Finnman was convicted.

       In 2009, the Supreme Court granted certiorari in three cases arising under that statute. See

Skilling v. United States, ___ U.S. ___, 130 S.Ct. 393 (2009); Weyhrauch v. United States, ___ U.S.

___, 129 S.Ct. 2863 (2009); Black v. United States, ___ U.S. ___, 129 S.Ct. 2379 (2009). Finnman

contends that “it is reasonable to conclude” that the Supreme Court will find § 1346 to be

unconstitutional. Dkt. #563-2 ¶ 45. Finnman based that assertion in part on the transcripts of the




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oral arguments in Black and Weyhrauch, which he contends make it “apparent ... that the Supreme

Court is viewing the honest services fraud statute with a jaundiced eye.” Id. ¶ 38.5

       Based on Finnman’s counsel’s view as to what he guesses the Supreme Court will do, he

seeks Finnman’s release pending appeal. Finnman’s arguments in support of that request are not

persuasive. Although the three cases referenced above themselves arguably present “substantial

questions” for the Supreme Court to resolve, Finnman’s own appeal to the Second Circuit does not.

Moreover, regardless of how the Supreme Court rules in those other cases, I do not believe that the

questions presented in those cases are “so integral to the merits” of Finnman’s conviction that any

ruling by the Supreme Court in those cases necessarily “is likely to require reversal of [Finnman’s]

conviction or a new trial” in his case. Randell, 761 F.2d at 125.

       As a starting point, it is useful to consider the questions on which the Supreme Court actually

granted certiorari in those three cases. In Weyhrauch, the only question that the Court agreed to

consider is “[w]hether, to convict a state official for depriving the public of its right to the

defendant’s honest services through the non-disclosure of material information, in violation of the

mail-fraud statute (18 U.S.C. §§ 1341 and 1346), the government must prove that the defendant

violated a disclosure duty imposed by state law.” 129 S.Ct. at 2863.

       Finnman is not, and at no time relevant to the charges against him was he, a state official.

Thus, this question has no direct application to him.




       5
        Skilling was argued before the Supreme Court on March 1, 2010, after Finnman filed his
motion. See Skilling v. United States, No. 08-1394 docket (available at
http://www.supremecourt.gov/Search.aspx?FileName=/docketfiles/08-1394.htm).

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       Arguably, the question presented in Weyhrauch might have some relevance to the aiding and

abetting aspect of the charges against Finnman, i.e. the allegation–which the jury found to have been

proven–that Finnman aided and abetted Charles Schwab (who at all relevant times was the Town

Assessor for the Town of Greece, New York) in depriving the taxpayers of the Town of Greece of

Schwab’s honest services. Even if the Supreme Court were to hold in Weyhrauch that the

government must prove that a state-official defendant violated a disclosure duty imposed by state

law, however, that requirement would have been satisfied in this case.

       At trial, there was testimony from Kathryn Firkins, the Director of Constituent Services for

the Town of Greece.6 She testified about a number of matters, including Schwab’s disclosure

requirements. As Firkins explained, Schwab was required to submit annually a financial disclosure

form to the Town, “because as far as public officials, we need to disclose if there are any conflicts

of interest.” Dkt. #498 at 33. In response to hypothetical questions, Firkins further testified to the

effect that Schwab should have disclosed on that form his association with Advanced Business

Valuation Services (“ABVS”), which, as charged in the indictment, was an offshore company started

by Schwab and Finnman, the purpose of which was to conceal the funds that they received from

Nicolo in the course of their illegal scheme. See Indictment (Dkt. #70) ¶¶ 13-16; Firkins Tr. (Dkt.

#498) at 35-36.7


       6
        Firkins testified that her duties in that position included matters related to finance and
accounting, borrowing for large scale capital projects, and other responsibilities. Dkt. #497 at
162-63.
       7
        The specific question on which the Supreme Court granted certiorari in Weyhrauch was
whether, where the federal § 1346 prosecution charges that services rendered by the official were
not “honest,” the government must prove that the state official violated state law, not simply
                                                                                      (continued...)

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       In Black, the Court has granted certiorari on two questions, one of which involves review of

alleged instructional error, which plainly has no relevance to this case. The other question in

Black is “[w]hether 18 U.S.C. § 1346 applies to the conduct of a private individual whose alleged

‘scheme to defraud’ did not contemplate economic or other property harm to the private party to

whom honest services were owed.”

       As in Weyhrauch, the Supreme Court’s answer to that question would have no effect on

Finnman’s conviction, regardless of whether the Court answers it in the affirmative or the negative.

Economic harm, both contemplated and actual, was both charged and proven here.

       Count 1 charged that the defendants engaged in a conspiracy, which had among its objects

to “obtain[] money and property from Kodak ... .” Dkt. #70 at 14. It further charged that Finnman,


       7
         (...continued)
because a bribe or kickback was paid or because the official was operating under a conflict of
interest, but because the official failed to disclose relevant information to the public employer.
2009 WL 797581, at *15.

         In the case at bar, Firkins testified that Schwab’s duty to submit the financial disclosure
form “[wa]s a town requirement.” Dkt. #498 at 35. While § 803 of the New York General
Municipal Law does require a municipal officer to disclose to the municipality any “interest in
any actual or proposed contract, purchase agreement, lease agreement or other agreement,
including oral agreements, with the municipality of which he or she is an officer or employee,”
on its face that statute does not appear to apply to Schwab’s interest in ABVS, which itself never
entered into any contracts or agreements with the Town of Greece.

        It seems apparent, however, that the reason that the petition for certiorari in
Weyhrauch was phrased in terms of state law was because the defendant in that case was a state
official, specifically a representative in the Alaska state legislature. See 2009 WL 797581, at *6.
The issue before the Supreme Court in Weyhrauch is whether § 1346 “provides a mandate for the
creation of a federal common law of disclosure obligations of state and local public officials
concerning claimed conflicts of interest,” even if no such disclosure obligations are imposed by
state or local law. Id. at *11. Thus, the fact that Schwab’s disclosure requirement arose under
local rather than state law is of no moment here. The salient point is that the requirement is not
one that arises only, if at all, under federal law.

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on behalf of his employers Kodak and Global Crossing, caused Nicolo to be hired to perform

appraisal services for those two companies, and that a portion of the monies paid out by Kodak and

Global Crossing for those purported services was returned to Finnman by Nicolo and Schwab as

kickbacks. Id. at 15. The indictment alleges that had Kodak and Global Crossing known of those

payments, “they would have changed their conduct and not condoned the enrichment to Finnman.”

Id. at 16. In other words, they would not have paid money to Nicolo had they known that the money

was ultimately lining Finnman’s pockets.

        The indictment further alleged that the defendants “obtained money from Kodak and Global

Crossing by causing Nicolo to be paid unwarranted and unnecessary fees with respect to certain

contracts Nicolo had with Kodak and Global Crossing.” Id. at 17. It could hardly be any clearer,

then, that the indictment here alleged a scheme that contemplated economic harm to the private

parties to whom Finnman owed his honest services.

        At trial in this case, the jury was fully instructed on those aspects of the charges. The Court

recited the charges, including the alleged objects of the conspiracy, as well as the allegation that “Mr.

Finnman obtained money from Kodak and Global Crossing [by way of kickbacks from Nicolo] by

causing Mr. Nicolo to be paid unwarranted and unnecessary fees ... .” Dkt. #530 at 20.8 Since the


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         In addition, the Court instructed the jury that “to show that a misrepresentation or
omission was material, the Government does not need to prove that the employer actually
suffered an economic harm or that the defendant intended to cause economic harm to the
employer,” but added that “where it is reasonably foreseeable that the scheme could cause some
economic or pecuniary harm to the employer, the misrepresentation is material because in such a
case, the employer’s knowledge of the scheme would tend to cause the employer to change its
behavior.” Dkt. #530 at 49-50. Given the proof here, it was clearly more than just foreseeable
that Finnman’s employers might suffer some economic harm as a result of the scheme; that was
one of the objects of the scheme, insofar as defendants intended to cause Kodak and Global
                                                                                        (continued...)

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jury found that all of the alleged objects of the scheme had been proven as to Finnman, see Verdict

Form (Dkt. #300) at 3-4, they implicitly found that Finnman engaged in a scheme that contemplated

economic harm to his employers.

        That the question presented in Black has no bearing on Finnman’s conviction is further

illustrated by the factual context in which the question in Black arose. As the intermediate appellate

court in Black explained, the defendants in that case, who were senior executives of a corporation,

“d[id] not deny that they sought a private gain,” but they contended that it was intended to be a gain

at the expense not of their employer, but of the Canadian government, to which they did not owe any

services at all. United States v. Black, 530 F.3d 596, 600 (7th Cir. 2008). No analog to that fact

pattern, or to those issues, is presented in the case at bar.9

        In the third case before the Supreme Court, Skilling, two questions are presented. As in

Black, one of the questions is completely irrelevant to Finnman’s appeal, as it relates to issues

involving jury prejudice arising from “the widespread community impact” and “massive,

inflammatory pretrial publicity” concerning the Enron scandal. 2009 WL 1339243, at *I.

        The second question in Skilling is whether § 1346 “requires the government to prove that the

defendant’s conduct was intended to achieve ‘private gain’ rather than to advance the employer’s

interests, and, if not, whether § 1346 is unconstitutionally vague.” Id. Also as in Black, that

question in Skilling arose in the context of facts vastly different from those in the instant case. The



        8
       (...continued)
Crossing to pay unnecessary or inflated fees.
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        The defendants in Black also contended that the Canadian government had willingly
incurred that expense, and that their actions did not violate Canadian law. 530 F.3d at 601.

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defendant in Skilling was the former CEO of Enron, and he contended that his conduct did not

breach his fiduciary duty to Enron, because his fraudulent activities were undertaken in Enron’s

corporate interest, and because he had acted not for private gain, but in pursuit of Enron’s goals of

achieving a higher stock price. United States v. Skilling, 554 F.3d 529, 545 (5th Cir. 2009). Again,

no similar facts or issues are present in this case, where it is clear that the defendants’ private gain,

not some perceived interest of Kodak, Global Crossing, or some other entity, was the overarching

goal of the scheme.

        I am unpersuaded by Finnman’s arguments that, based on the comments of some of the

justices on the Supreme Court, that Court appears “likely to address the general question of [§

1346]’s constitutionality – rather than the narrow questions presented by the petitioners in Black and

Weyhrauch.” Lembke Decl. (Dkt. #563-2) ¶ 44. Such an assertion is purely speculative. The

questions posed by members of a Court are poor barometers of the final decision of the Court. It is

not the proper role of this Court to attempt to divine from what was said by this or that justice during

oral argument whether the Supreme Court is likely to go beyond the questions on which it granted

certiorari, and issue a more sweeping opinion addressing the general constitutionality of § 1346. At

this point, all that can be said with any certainty is that the Supreme Court is considering the

particular questions presented by the petitions for certiorari in Black, Weyhrauch and Skilling, none

of which appear likely to have any effect on Finnman’s convictions.

        It is also worth noting that in Weyhrauch, the Supreme Court expressly limited the scope of

the issues before it. In the petition for a writ of certiorari, the petitioner in Weyhrauch framed the

question as whether § 1346 “mandates the creation by the federal courts of a federal common law



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defining the disclosure obligations of state government officials.” 2009 WL 797581, at *I. In

granting the petition, the Supreme Court stated that its review was “limited to the following question:

Whether, to convict a state official for depriving the public of its right to the defendant's honest

services through the non-disclosure of material information, in violation of the mail-fraud statute,

the government must prove that the defendant violated a disclosure duty imposed by state law.” 129

S.Ct. 2863 (citation omitted). That question is clearly narrower in scope than the petitioner’s

original question.

        Reinforcing the point, the Court also subsequently denied the petitioner’s motion to modify

the question presented in Weyhrauch. 130 S.Ct. 22 (July 27, 2009). Although the motion itself does

not appear to be available online, the Weyhrauch petitioner’s reply brief indicates that he sought to

broaden the question presented to address the general issue of “whether there is constitutional

authority for enactment of federal provisions requiring disclosures by state officials.” 2009 WL

4874099, at *5. In denying that motion, then, the Court essentially declined the petitioner’s

invitation to consider broader, constitutional issues.

        This Court will not engage in judicial augury by attempting to discern, from their questions

or comments, what was on the minds of individual justices during argument of these three Supreme

Court cases. See United States v. Miller, 753 F.2d 19, 23 (3d Cir. 1985) (“the phrase ‘likely to result

in reversal or an order for a new trial’ cannot reasonably be construed to require the district court to

predict the probability of reversal. The federal courts are not to be put in the position of

‘bookmakers’ who trade on the probability of ultimate outcome”); Jackson v. Maine, 300 F.Supp.2d

197, 199 n.1 (D.Me. 2004) (stating, with respect to habeas petitioner’s arguments based on Supreme



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Court’s grant of certiorari in another case, that “[t]he Supreme Court limited its grant of certiorari

to Questions 1 and 2 presented by the petition for certiorari. Speculating whether the Supreme Court

will even consider the Apprendi issue illustrates the danger of reading the grant or denial of certiorari

like tea leaves”) (citation omitted).

        The short, but sufficient, answer to Finnman’s arguments, then, is that the questions

presented in Black, Weyhrauch and Skilling may be “substantial,” but they are not likely to affect

Finnman’s conviction or sentence. Cf. United States v. Garnett, No. 05-CR-20002, 2008 WL

2796098, at *4 (E.D.Mich. July 18, 2008) (stating, with respect to defendant’s contention that

Supreme Court’s ruling in certain case that was pending at the time defendant filed his motion for

bond pending appeal “might have far-reaching effects on his own appeal and would therefore

establish a substantial question,” that “[n]othing in the ... decision [appealed from in that other case]

casts doubt on the constitutionality of federal regulations over the machineguns and silencers at issue

in this case. Accordingly, Garnett has clearly failed to establish a substantial question that would

satisfy 18 U.S.C. § 3143(b)(1)(B)”). Finnman’s motion is therefore denied.10




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        My conclusion that Finnman has failed to demonstrate the existence of a “substantial
question” concerning his appeal renders it unnecessary for the Court to address Finnman’s
argument that, if the honest-services aspects of his case were dismissed, the only remaining
charges would be time-barred.

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                                       CONCLUSION



       The motions for release from custody pending appeal filed by defendants David Finnman

(Dkt. #563) and John Nicolo (Dkt. #566) are denied.

       IT IS SO ORDERED.



                                    _______________________________________
                                             DAVID G. LARIMER
                                           United States District Judge


Dated: Rochester, New York
       April 15, 2010.




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